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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                            §   Chapter 11
                                                  §
ALEXANDER E. JONES                                §
                                                  §
         Debtor.                                  §   Case No. 22-33553
                                                  §

DEBTOR’S RESPONSE TO STATEMENT AND RESERVATION OF RIGHTS BY THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF ALEXANDER E. JONES
          REGARDING AMENDED SCHEDULES AND STATEMENTS
TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

         Alexander E. Jones (“Debtor”), as debtor and debtor-in-possession in the above-captioned

Chapter 11 Case, files this Response (the “Response”) to the Statement and Reservation of Rights

of the Official Committee of Unsecured Creditors of Alexander E. Jones Regarding Amended

Schedules and Statements (the “Statement”) and respectfully states as follows:

                                            RESPONSE
   I.        Introduction

         Debtor files this Response to correct multiple misstatements of fact and misleading

comments in the Statement. The Statement is unnecessary for several reasons: (a) the Committee

and Debtor’s counsel have weekly (and sometimes more frequent) calls to discuss this case, and

none of the matters raised therein were ever mentioned, (b) nothing to Debtor’s counsel’s

knowledge waives any right of the Committee or any party to continue to conduct any investigation

of assets and liabilities upon the filing of schedules and statements of financial affairs and (c) the

Committee attended every 341 meeting and asked questions, yet none of them hinted at these

alleged issues. Unfortunately, because of the notoriety of Debtor and overwhelming scrutiny any



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filing in this case brings, professional time and fees must be spent refuting the overreaching and

paranoid conclusions alleged by the Committee in this superfluous Statement.

         The Committee excoriates Debtor for seeking extensions of time to file schedules while at

the same time admitting that it is taking a good deal of time to get information from third parties.

This is the same dilemma Debtor faced when trying to reconstruct nonexistent financial records in

order to prepare these vital disclosures. Furthermore, debtors in bankruptcy have a duty to amend

their disclosures as additional or better information becomes available. The Committee criticizes

Debtor for complying with one of the central tenants of bankruptcy. However, Debtor is going to

continue complying with his duties as a debtor in bankruptcy, and will continue to amend his

schedules as new or additional information comes to light, and will not be shamed into a failure to

disclose.

         It is the hope of Debtor that the parties can work together in future to answer questions and

work through issues informally before they are filed of record with the Court.

   II.       Background Information Relevant to Schedules and SOFA

         On December 2, 2022, Debtor filed his voluntary petition for relief under chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”). Debtor continues in possession of his

holdings and is managing as a debtor-in-possession pursuant to Bankruptcy Code §§ 1107 and

1108.

         On December 13, 2022, the United States Trustee’s Office appointed five of the plaintiffs

with pre-petition litigation claims against Debtor as the members of an official committee of

unsecured creditors (the “Committee”) appointed in this Chapter 11 Case. No trustee or examiner

has been requested or appointed in this Chapter 11 Case. Debtor is an employee of Free Speech



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Systems, LLC (“FSS”). FSS filed its voluntary petition for relief under chapter 11 of the

Bankruptcy Code on July 29, 2022.

         On February 14, 2023, Debtor filed his Schedules [Dkt. 161] and Statement of Financial

Affairs [Dkt. 162] (together, the “Original Schedules”). Subsequently, counsel for Debtor and the

Committee had a call discuss the need to amend the Original Schedules. Debtor and his

professionals worked nonstop to complete the filings.

         Despite the agreement by Debtor’s counsel, the Committee filed the Emergency Motion of

the Official Committee of Unsecured Creditors of Alexander E. Jones to Compel the Debtor to

File Amended Schedules and Statements in Compliance with 11 U.S.C. § 521 (the “Motion to

Compel”) [Dkt. No. 189] seeking to force Debtor to do what he had already agreed to do, resulting

in an additional, unnecessary hearing before the Court. This Court’s order on the Motion to Compel

provided Debtor more time than agreed to with the Committee to file the amendments and

removed the requirement that any professional declare efforts to complete the filings. See Order

on Motion to Compel [Dkt. No.206].

         In compliance with the Order, on March 30 2023,1 Debtor filed his amended Schedules

[Dkt. No. 231] with explanatory detail attachments [Dkt. No. 233] and amended Statements of

Financial Affairs [Dkt. No. 232] with explanatory detail attachments [Dkt. No. 233] (together, the

“First Amended Schedules”). On April 4, 2023, the U.S. Trustee’s office concluded the 341

meeting, commenting on the fulsomeness of the First Amended Schedules. At this meeting,

Debtor’s counsel explained that there were a few additional changes that would be made to the

First Amended Schedules and noted each on the record for all parties to hear. The Committee


1
 The Court did order the filings to be done by noon; while the first filing did occur precisely at noon the others followed
within minutes. Debtor’s counsel’s office experienced significant delays with their software used to complete these
documents and apologizes for any delay.

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attended that 341 meeting, and indeed asked questions of Debtor, focusing on whether his personal

efforts had resulted in the Texas Secretary of State’s issuing tax forfeitures for certain entities.

       On April 18, 2023, Debtor filed his second amended Schedules A/B, C and G [Dkt. No.

242] and Statement of Financial Affairs [Dkt. No. 243] (together, the “Second Amended

Schedules”) merely changing the few items mentioned on the record at the 341 meeting. Those

items included the following:

       1) Restating the percentage Debtor owns of his homestead to 80% and adjusting the value

           accordingly, correcting an error made by undersigned counsel in initially reading the

           prenuptial agreement;

       2) Moving a watercraft that was erroneously placed under automobiles to the correct

           category of personal property;

       3) Changing the previously unknown recipients of three transfers during the 90-day

           window to the proper recipients;

       4) Deleting a reference to a receivable owed by Mountain Way Marketing given the recent

           FSS’ position that such funds belonged to FSS;

       5) Adding a specific reference to a second contract with ESG regarding celebrity

           endorsements;

       6) Removing three handguns from the schedules due to their ownership by the Debtor’s

           spouse; and

       7) Completing Schedule C.

       To be clear, every one of these were discussed at the 341 meeting on the record with a

lawyer for the Committee present who asked questions of Debtor.



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          Debtor’s professionals have spent the last four months recreating Debtor’s books and

records so that Debtor would be able to file fulsome and compete disclosures as required. Debtor

was cooperative and forthcoming to the extent of his memory, but the work demonstrated that he

was not in possession of all of the information necessary to complete the filings. Pre-petition,

Debtor did not manage his own financial affairs, and over the course of the past twenty years, has

engaged multiple law firms to provide certain financial planning strategies, the majority of which

were never fully implemented. In addition, Debtor has gone through a long and involved divorce,

which divided some assets and dissolved certain trusts. The interviews of those lawyers, review of

files sent, and research of certain secretary of state websites brought a certain sense of

completeness of Debtor’s corporate holdings; however, it does not provide a clear picture of assets

owned by trusts or corporations.

          Steps were taken to find any such assets held in corporate or trust entities, including the

review of certain county records for all known or suspected corporate names, certain vehicle

registrations in the state of Texas, and any other legal sources of information, and all such have

been disclosed in the latest filings. The effort took hundreds of professional hours. Debtor has

voiced his desire to engage someone post-petition to continue maintaining his books and records

in the ordinary course of his business, a result of the painful process of recreating them after such

a long period of ill-management. This is a positive improvement from a reorganization perspective.

   III.      Specific Responses to Committee Statement

          The Committee has made eight (8) claims that vary from untrue, misleading, and items that

have been fully explained either by documents sent by Debtor’s counsel to the Committee,

conversations between Debtor and Committee professionals or testimony at the 341 meeting. This

Response will address them in that order.

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       A. Debtor Did Not Delete the Funds Held by the IRS

       The Original Schedules listed a $3,971,111 deposit held by the IRS in Item Number 28 on

Schedule A/B. Such amount was reduced to $3,807,459 in the First Amended Schedule A/B and

remained on the Second Amended Schedule A/B. See excerpts of the First Amended Schedule

A/B and Second Amended A/B attached hereto as Exhibit A and incorporated herein by reference.

This, this allegation of a deletion is untrue and puzzling.

       B. Debtor Does Not Directly Own PQPR Holdings, LLC or PLJR, LLC.

       Number 19 of form 106 requests that a debtor list “[n]on-publicly traded stock and interests

in incorporated and unincorporated businesses, including an interest in an LLC, partnership and

joint venture.” Form 106, Number 19 does not ask for, nor require the listing of indirect interests;

and in fact, listing those would be very confusing. In addition, the form itself requests percentage

of ownership, which in an indirect sense would be misleading.

       Despite Form 106 Number 19 not requesting disclosure of a debtor’s indirect interests in

companies, Debtor did disclose his indirect interests in PQPR Holdings, LLC and PLJR, LLC in

the Global Notes and Supporting Information affixed to the front of both the First Amended

Schedules and the Second Amended Schedules. See First Amended Schedules, pages 6 and 12

[Dkt. No 231] and Second Amended Schedules, Pages 5 and 12 [Dkt. No. 242], attached hereto as

Exhibit B and incorporated herein by reference. Further, a corporate chart showing this

relationship was emailed to the Committee on March 8, 2023. See Corporate Chart, attached hereto

as Exhibit C and incorporated by reference.

       Debtor’s counsel is again puzzled by this misstatement on the part of the Committee. The

filings clearly disclosed this indirect interest and Debtor’s counsel even went so far as to create a



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PowerPoint chart to illustrate the relationships/ownership to make it easy for the Committee to

understand. This portion of the Statement is simply wrong.

       C. Increase in Debtor’s Income Clearly Explained at 341 Meeting

       The Global Notes affixed to Debtor’s Original Schedules noted that “Debtor’s 2022 W-2

for his work as an employee of Free Speech Systems, as well as certain K-1s were unable to be

located prior to the filing date. . . . Upon the receipt of the actual tax documents, if necessary,

amendments will be made.” See Original Schedules, page 4, the excerpt of which is attached

hereto as Exhibit D and incorporated herein by reference.

       Between the Original Schedules filing and the First Amended Schedules filing (a period of

six weeks) Debtor’s professionals were able to obtain those documents and complete the filing of

the Debtor’s 2021 taxes. As such, an amendment was made and explained in the Global Notes to

the First Amended Schedules on page 14. The excerpt of such disclosure and explanation is

attached hereto as Exhibit E and incorporated herein by reference. In addition, the U.S. Trustee

asked for testimony on this subject at the 341 meeting. Due to the complexity of the answer,

Robert Schleizer with BlackBriar Advisors was sworn in and testified as to the changes in income.

No attendees at the 341 meeting asked for further clarification, including the Committee.

Committee’s allegations seem to characterize this update as mysterious and somehow evidence of

wrongdoing on the part of Debtor. This was an update that was previewed and explained in detail

at the 341 meeting and the Committee chose not to ask any follow up questions yet assert their

misunderstanding in the Statement. This begs the question of why the Committee had a lawyer

attend the meeting if such information was not shared with those who drafted and filed this

Statement.



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        D. Audited Statements Prove 98.3% of Debtor’s Cryptocurrency Was Contributed to FSS

        The Statement further erroneously states that Debtor owned cryptocurrency as of the

Petition Date that should have been disclosed in the schedules. Debtor’s interest in cryptocurrency

on the Petition Date was zero and was accurately disclosed in Item 20 on the First Amended

Schedules and the Second Amended Schedules. Excerpts showing both disclosures are attached

hereto as Exhibit F and incorporated herein by reference. Debtor went even further in both filings

to show a receipt in the wallet of $304.00 the day after the filing.

        Debtor’s financial advisors have also audited the totality of transfers from Debtor’s

cryptocurrency wallet to Debtor’s bank account at Prosperity Bank (#9175) in the amount of

$7,547,136.61 between August 3, 2021 and November 8, 2022. Of this amount, $7,044,043.00

was confirmed to be transferred to FSS. Debtor used $390,900 of the balance to purchase inventory

referred to as the “Platinum” inventory when FSS had no ability to finance this purchase.

        The total variance between the amounts transferred from the cryptowallet and what was

contributed to FSS or used to purchase inventory sold by FSS, is $112,194, or 1.7% of the total.

At this point, the value of the professional time to trace this remaining amount seems to meet the

law of diminishing returns and thus work to finalize the audit has ceased. All of this has been

discussed with the Committee as the audit was ongoing, and the results of the audit were shared,

at the latest, on March 8, 2023 via email. A true and correct copy of a chart showing the tracing

results is attached hereto as Exhibit G and is incorporated by reference.2 It could be argued that

such transfers to FSS should be disclosed in the statement of financial affairs. Such was not




2
 A more detailed chart was sent on March 8th to the Committee to allow their professionals to see the work
performed and examine it. This is a “cleaned up” version.

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explicitly done and can be done if the Committee requests such. However, the Committee’s

allegation of $900,000 of undisclosed cryptocurrency is incorrect.

        E. Debtor Did Not Disclose Transfers to Himself

        The Statement also complains of the lack of disclosure of transfers between the AEJ 2018

Trust and Debtor. It is important here to note that Debtor sent the trust document governing this

Trust to the Committee early on in the case, it is a grantor trust, and while it files its own tax return,

its income or loss flows through directly to Debtor’s tax return. The AEJ 2018 Trust only owns

100% of AEJ Austin Holdings, LLC. Despite the abysmal bookkeeping records, the transfers on

money to these entities have largely followed their ownership structure, i.e., transfers from PQPR

Holdings, LLC are sent to the AEJ 2018 Trust, which are transferred to AEJ Austin Holdings,

LLC, which are then transferred to Debtor’s accounts. As such, Debtor’s financial professionals

view distributions by and between those entities reporting on the same tax return are not transfers.

        Notwithstanding the foregoing, early in this case, bank statements were sent to the

Committee for each of the accounts held by these entities. Full disclosure of these transactions,

transfers, and relationships have been made to the Committee, providing what one can only assume

as the raw data behind their misleading assertion that “1.5 million of proceeds . . . associated with

AEJ 2018 Trust shortly before the bankruptcy filing.” However, the same cannot be said for the

basis of the Committee’s assertions, as the Committee has not previously shared with Debtor their

concerns on this matter..

        F. Changing Valuations from “Unknown” to “Known”

        One of the major areas of inquiry still ongoing when the Original Schedules were filed

included valuing many disclosed assets. Eighteen categories of personal property in Schedule A/B

were marked “unknown.” All but the value of certain claims was resolved in the First Amended

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Schedules and carried forward to the Second Amended Schedules. A true and correct copy of First

Amended Schedule A/B and Second Amended Schedule A/B are attached hereto as Exhibit H

and are incorporated herein by reference. Changing the values from unknown to a dollar amount

did increase the appearance of value of the Debtor’s assets; but such facial change did not truly

increase the valuation by “48%” as emphasized in the Committee’s Statement. See Statement page

2. Rather, it showed the results of the continued due diligence by the Debtor and his professionals

to drill down and find the values of the assets necessary for full and complete disclosure.

           Debtor did locate a few additional assets of value between February 14, 2023 – an

additional watercraft, and additional vehicle,3 and certain unclaimed property, valued at under

$90,000. This is hardly a “remarkable” increase as described in the Statement.

           G. Status of Discovery

           While irrelevant to the completeness of the Schedules, the Committee references that it

“has not received the lion’s share of the discovery requested from the Debtor”. See Statement,

page.3. Debtor disagrees with this statement.

           Since the appointment of the Committee, Debtor has received multiple drafts of 2004

document requests and spent hundreds of hours gathering, reviewing, and producing 6846 pages

of 719 documents, and preparing to send another 7862 pages of 1499 documents. It is expected

that more documents are to come but will largely be duplicative but will be produced to the

Committee per their request irrespective of duplicity as soon as possible. In fact, Debtor is going

to be requesting the production files from his lawyers defending the claims in state court of the

Committee’s members and those similarly situated with them. While their lawyers ostensibly have



3
    The vehicle “added” was listed as a lease in the Original Schedules and later determined to be bought out.

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this information, Debtor has not objected to using resources to get the documents from the defense

lawyers and turning them over to the Committee pursuant to the applicable protective order.

         Debtor does not use email, does not know the password to open any computer at his office,

nor does he use the computer in his home. He often did business without written documentation,

preferring to do “handshake” deals with friends and colleagues. He did not have an accountant or

bookkeeper keeping “books” for him but rather paying bills as invoices were presented. This

leaves a large “hole” for documents where often-times one would expect to find a treasure-trove

of emails. A lack of documents does not mean there is a large amount of documents to be shared

– it may simply mean they do not exist. This has been the subject of hours of conversations

between counsel.

         Debtor’s professionals are in the process of imaging Debtor’s phone, where most, if not

all, of his written communications are kept. His email account will be checked, but it is expected

only to consist of information sent to him and not reviewed by him, so its relevance is questionable.

Despite that, Debtor has agreed to all searches and production thus far.

   IV.      Conclusion

         The Committee’s Statement, wholly unnecessary, is riddled with misstatements and

misleading statements that Debtor could not ignore. Debtor’s professionals have been open with

the Committee’s professionals and facilitated open and honest communications, which to date have

just led to hours of more calls and requests for documents that do not exist. Debtor retains hope

that this process will be fair and equitable to all parties, and that goals remain focused on resolving

issues amicably if possible.




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Dated: April 20, 2023.              CROWE & DUNLEVY, P.C.


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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon the
parties registered to receive notice via the Court’s ECF noticing system on this 20th day of April,
2023.

                                                 /s/ Vickie L. Driver
                                                  Vickie L. Driver




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